Case: 3:05-cr-00781-JGC Doc #: 811 Filed: 01/23/13 1 of 3. PageID #: 3334




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


JOSE C. MARTINEZ, JR.,

                       Petitioner/Defendant                   Case No. 3:05 CR 781

               -vs-                                           MEMORANDUM OPINION

UNITED STATES OF AMERICA,

                       Respondent/Plaintiff,

KATZ, J.

       Petitioner, Jose A. Martinez, Jr., has filed a motion under 22 U.S.C. § 2255 to vacate, set

aside or correct his sentence. He raises four claims: three claims of ineffective assistance of

counsel and one claim that the Government failed to meet its burden of proof on all elements of

the offenses of which Petitioner was convicted. The Court has reviewed Petitioner’s motion as

filed and the opposition filed by the Government and will deny Petitioner’s motion in all

respects.

                                         BACKGROUND

       The Government’s brief outlines fully the details of the background of this case,

including, but not limited to, the operations of the conspiracy of which Petitioner was convicted

and the various aspects of the case to this point. That includes the fact that the Petitioner was

convicted of multiple counts at a jury trial which commenced May 9, 2006. He was found guilty

of counts 1, 35, 40, 48, 49 and 50 with a special finding that he possessed with intent to

distribute at least 5 kilograms of cocaine.

       At sentencing he was determined by this Court to have a base offense level of 32 (the

Probation Officer writing the PSR had found a total offense level of 40 and a Criminal History
Case: 3:05-cr-00781-JGC Doc #: 811 Filed: 01/23/13 2 of 3. PageID #: 3335




I), and applied a four level enhancement for his leadership role. That resulted in a Guideline

Range of 188 - 235 months and the Court sentenced Petitioner to 220 months imprisonment on

count 1 and 48 months each on the remaining 5 counts as to which he was convicted, all to be

served concurrently.

       Petitioner appealed his conviction to the Sixth Circuit Court of Appeals which affirmed

this Court’s actions, including the denial of Petitioner’s motion to sever and “procedural errors”.

       On October 28, 2012 Mr. Martinez filed this motion and raised three claims of ineffective

assistance of counsel and a fourth claim that the Government failed to meet its burden of proof at

trial for every element of the offenses for which he was convicted. The Government has

extensively outlined the law with respect to Section 2255 motions and ineffective assistance of

counsel claims within its memorandum in opposition to the motion.

                                          DISCUSSION

       This Court has determined that the argument set forth in the Government’s memorandum

in opposition beginning at the bottom of page 6 and continuing to the end of its memorandum,

sufficiently outlines the arguments which drive the Court to deny all of the allegations asserted

by the Petitioner. Having presided at all relevant hearings with respect to this case and the trial,

the Court can find no instance of ineffective assistance of counsel or denial by this Court of any

rights which would give rise to the granting of a motion pursuant to Section 2255. To belabor

the points addressed by the Government would be a waste of judicial resources. As indicated,

the Court has read Mr. Martinez’ memorandum and the Government’s and the affidavit of trial

counsel attached to the latter. The Government’s memorandum is replete with analysis and case




                                                  2
Case: 3:05-cr-00781-JGC Doc #: 811 Filed: 01/23/13 3 of 3. PageID #: 3336




citations supporting both analysis and conclusions. Anything further by the Court would be

repetitive and superfluous.

       Based on the forgoing and in particular the memorandum of the Government, this Court

denies in full Petitioner’s motion pursuant to Section 2255.

       Further, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this

decision could not be taken in good faith, and that there is no basis upon which to issue a

certificate of appealability. 28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).

       IT IS SO ORDERED.

                                                       s/ David A. Katz
                                                     DAVID A. KATZ
                                                     U. S. DISTRICT JUDGE




                                                 3
